Case 2:20-cr-00228-JDC-KK Document 28 Filed 06/07/21 Page 1 of 1 PageID #: 57




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


UNITED STATES OF AMERICA                           CASE NO. 2:20-CR-00228-01

VERSUS                                             JUDGE JAMES D. CAIN, JR.

JOSHUA MICHAEL DICKERSON (01)                      MAGISTRATE JUDGE KAY

                     ORDER OF ACCEPTANCE OF GUILTY PLEA

       Having reviewed the Report and Recommendation (Doc. 27) of the Magistrate Judge who

found that Defendant was fully competent, that his plea of guilty as to Count 1 is knowing and

voluntary, and supported by the written factual basis, and further noting Defendant, Joshua

Michael Dickerson’s waiver of objections to the Report and Recommendation,

       IT IS ORDERED that the plea of guilty as to Count 1 by Joshua Michael Dickerson is

hereby ACCEPTED.

       THUS DONE AND SIGNED in Chambers on this 7th day of June, 2021.



                        _____________________________________
                                 JAMES D. CAIN, JR.
                          UNITED STATES DISTRICT JUDGE
